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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF FLORIDA______________________________

Case number (/r/mown,)                                                      Chapter      11
                                                                                                                          □ Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy__________06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1. Debtor's name                  Vital Pharmaceuticals International Sales, Inc.

2.   All other names debtor
      used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
      Employer Identification     81 -0918019
      Number (BIN)


4.    Debtor's address            Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1600 N. Park Dr.
                                  Weston, FL 33326_______________________                        _________________________________________
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Broward                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.bangenergy.com


6.   Type of debtor               B   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                  □ Partnership (excluding LLP)
                                  □ Other. Specify:     _____________________________________________________________




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Debtor   Vital Pharmaceuticals International Sales, Inc.___________________                         Case number (Mnown)
          Name



7.   Describe debtor's business     A. Check one:
                                    □ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                    □ Single Asset Real Estate (as defined in 11 U.S.C. § 101(516))
                                    □ Railroad (as defined in 11 U.S.C. § 101 (44))
                                    □ Stockbroker (as defined in 11 U.S.C. § 101 (53A))
                                    □ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                    □ Clearing Bank (as defined in 11 U.S.C. § 781 (3))

                                    M None of the above

                                    B. Check all that apply
                                    □ Tax-exempt entity (as described in 26 U.S.C. §501)
                                    □ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                    □ Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                    C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                       http://www.uscourts.aov/four-diait-national-association-naics-codes.
                                            3121

8.   Under which chapter of the     Check one:
     Bankruptcy Code is the
                                    □ Chapter 7
     debtor filing?
     A debtor who is a "small        □ Chapter 9
     business debtor” must check     • Chapter 11. Check all that apply.
     the first sub-box. A debtor as
     defined in § 1182(1) who                         □ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                               noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                            $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                       operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                         exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                      □ The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                           debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                           proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                           balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                           any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                        □     A plan is being filed with this petition.
                                                        □     Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                              accordance with 11 U.S.C. § 1126(b).
                                                        □     The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                              Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                              Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                              (Official Form 201 A) with this form.
                                                        □     The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                    □ Chapter 12

S.   Were prior bankruptcy          g
     cases filed by or against      _
     the debtor within the last 8 ^ ^es-
     years?
     If more than 2 cases, attach a      _
     separate list.                      District                                      When                               Case number
                                         District                                      When                               Case number




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          Name

10. Are any bankruptcy cases               □ No
    pending or being filed by a            _
    business partner or an
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor     See Exhibit 1 attached hereto                                 Relationship

                                                     District                                 When                            Case number, if known


11. Why is the case filed in           Check all that apply
    this district?
                                       B      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                       □      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or             ■ No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                       □ Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                    □ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                    □ It needs to be physically secured or protected from the weather.
                                                    □ It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                    □ Other
                                                    Where is the property?         ________________________________
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                    □ No
                                                    □ Yes.      Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of                      Check one:
    available funds
                                                B   Funds will be available for distribution to unsecured creditors.
                                                □ After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                ■ 1-49                                            □ 1,000-5,000                             □ 25,001-50,000
    creditors                                                                            □ 5001-10,000                             □ 50,001-100,000
                                       □ 50-99
                                       □ 100-199                                         □ 10,001-25,000                           □ More than 100,000
                                       □ 200-999


15. Estimated Assets                   n$0-$50,000                                       □   $1,000,001 - $10 million              □   $500,000,001 - $1 billion
                                       □ $50,001 -$100,000                               □   $10,000,001 - $50 million             □   $1,000,000,001 -$10 billion
                                       ■ $100,001 -$500,000                              □   $50,000,001 -$100 million             □   $10,000,000,001 - $50 billion
                                       □ $500,001 -$1 million                            □   $100,000,001 - $500 million           □   More than $50 billion



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         Name


16. Estimated liabilities   ■ $0 - $50,000                            □   $1,000,001 - $10 million            □   $500,000,001 - $1 billion
                            □ $50,001 -$100,000                       □   $10,000,001 - $50 million           □   $1,000,000,001 -$10 billion
                            □ $100,001 -$500,000                      □   $50,000,001 -$100 million           □   $10,000,000,001 - $50 billion
                            □ $500,001 -$1 million                    □   $100,000,001 - $500 million         □   More than $50 billion




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Debtor   Vital Pharmaceuticals International Sales, Inc.___________________                        Case number (Mnown)
         Name



          Request for Relief, Declaration, and Signatures

WARNING - Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
          imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,151S, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition,
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 10, 2022_____
                                                  MM /DD fYYYY


                             X Isl John C. DiDonato                                                      John C. DiDonato
                                 Signature of authorized representative of debtor                        Printed name

                                 Title   Chief Transformation Officer




18. Signature of attorney    X /s/ Jordi Guso________________________________ Date October 10, 2022
                                 Signature of attorney for debtor                                                MM / DD / YYYY

                                 Jordi Guso 863580____________________________________________________
                                 Printed name

                                 Berger Singerman LLP_________________________________________________
                                 Firm name

                                 1450 Brickell Avenue
                                 Suite 1900
                                 Miami, FL 33131_________________________________________________________
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     305-755-9500                  Email address      jguso@bergersingerman.com

                                 863580 FL_______
                                 Bar number and State




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                                                   EXHIBIT 1 to Voluntary Petitions

 Debtor Name                   TIN          Relationship   Date Filed                 Case Number      District
 Vital Pharmaceuticals, Inc.   XX-XXXXXXX   Affiliate      October 10, 2022           Pending          U.S. Bankruptcy Court,
                                                                                                       Southern District of Florida
                                                                                                       (Fort Lauderdale Division)
 Bang Energy Canada, Inc.      XX-XXXXXXX   Affiliate      October 10, 2022           Pending          U.S. Bankruptcy Court,
                                                                                                       Southern District of Florida
                                                                                                       (Fort Lauderdale Division)
 JHO Intellectual Property     XX-XXXXXXX   Affiliate      October 10, 2022           Pending          U.S. Bankruptcy Court,
 Holdings, EEC                                                                                         Southern District of Florida
                                                                                                       (Fort Lauderdale Division)
 JHO Real Estate               XX-XXXXXXX   Affiliate      October 10, 2022           Pending          U.S. Bankruptcy Court,
 Investment, EEC                                                                                       Southern District of Florida
                                                                                                       (Fort Lauderdale Division)
 Quash Seltzer, EEC            XX-XXXXXXX   Affiliate      October 10, 2022           Pending          U.S. Bankruptcy Court,
                                                                                                       Southern District of Florida
                                                                                                       (Fort Lauderdale Division)
 Rainbow Unicom Bev            XX-XXXXXXX   Affiliate      October 10, 2022           Pending          U.S. Bankruptcy Court,
 EEC                                                                                                   Southern District of Florida
                                                                                                       (Fort Lauderdale Division)
 Vital Pharmaceuticals         XX-XXXXXXX   Affiliate      October 10, 2022           Pending          U.S. Bankruptcy Court,
 International Sales, Inc.                                                                             Southern District of Florida
                                                                                                       (Fort Lauderdale Division)




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     WRITTEN CONSENT OF SOLE SHAREHOLDER AND SOLE DIRECTOR OF
          VITAL PHARMACEUTICALS INTERNATIONAL SALES INC.

       The undersigned, being the sole Shareholder and the sole Director of Vital
Pharmaceuticals International Sales, Inc., a Delaware corporation (the “Company”!, in
accordance with Section 141 (f) of the General Corporation Law of Delaware, hereby adopts the
following resolutions by this written consent in lieu of a meeting:

       WHEREAS, the Director has reviewed and considered the operational condition of the
Company and the Company’s business on the date hereof, including the historical performance
of the Company, the assets of the Company, the current and long-term liabilities of the
Company, the market for the Company’s products and services, the liquidity situation of the
Company, the strategic alternatives available to the Company, and the impact of the foregoing on
the Company’s businesses, creditors and other parties in interest;

        WHEREAS, the Director has received, reviewed and considered the recommendations of
the management of the Company and the Company’s legal, financial and other advisors as to the
relative risks and benefits of pursuing a bankruptcy proceeding under chapter 11 of title 11 of the
United States Code (11 U.S.C. §§ 101 et seq., the “Bankruptcy Code”!, and the Director has had
an opportunity to consult with the Company’s management team and the Company’s legal,
financial and other advisors and has fully considered each of the strategic alternatives available
to the Company;

         WHEREAS, the Director has determined in the exercise of his business judgment that it
is in the best interest of the Company to authorize and empower management of the Company to
file a Chapter 11 bankruptcy case;

        WHEREAS, it is proposed that the Company enter into that certain Superpriority
Secured Debtor-In-Possession Credit Agreement, to be dated on or after the date the Court issues
the Interim DIP Order (as defined in the Chapter 11 Documents) (as amended, restated, amended
and restated, supplemented and/or otherwise modified from time to time, the “DIP Credit
Agreement”), by and among Vital Pharmaceuticals, Inc., a Florida corporation (the “DIP
Borrower”!, as borrower, the Company, as a guarantor, certain other subsidiaries and affiliates of
the DIP Borrower party thereto from time to time as guarantors (together with the Company,
collectively the “DIP Guarantors”!, the lenders party thereto from time to time (collectively, the
“Lenders”) and Truist Bank, as administrative agent for the Lenders (in such capacity, the “DIP
Agent”). The date that the DIP Credit Agreement is entered into is referred to herein as the “DIP
Effective Date”:

        WHEREAS, it is proposed that the Company enter into that certain Postpetition Security
and Pledge Agreement, dated as of the DIP Effective Date (as amended, restated, amended and
restated, supplemented and/or otherwise modified from time to time, the “DIP Security
Agreement”), by and among the DIP Borrower, the Company, the other DIP Guarantors and the
DIP Agent, pursuant to which the DIP Borrower, the Company and the other DIP Guarantors
will grant liens in substantially all of their respective personal property to the DIP Agent for the
benefit of the holders of the Secured Obligations (as defined in the DIP Security Agreement);


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        WHEREAS, in connection with the DIP Credit Agreement and the DIP Security
Agreement, it is proposed that the Company enter into certain Loan Documents (as defined in the
DIP Credit Agreement) (together with the DIP Credit Agreement and the DIP Security
Agreement, collectively, the “DIP Loan Documents”! and certain other instruments, certificates,
agreements and other documents necessary, desirable, convenient, appropriate, advisable or
otherwise requested by the DIP Agent to satisfy the covenants, conditions precedent and any
conditions subsequent for the extension of credit under the DIP Credit Agreement, or in
connection with the performance of its obligations under the DIP Loan Documents, including,
without limitation, mortgages, deeds of trust, trust deeds, collateral access agreements, landlord
waivers, bailee letters, common carrier letters, warehouse letters (or any similar agreement to any
of the foregoing), security agreements, pledge agreements, guaranties, control agreements,
lockbox agreements, stock powers, intercompany notes, promissory notes, allonges, assignments,
Uniform Commercial Code financing statements, promissory notes, indorsements, notices of
borrowing, borrowing base certificates, requests for advances, requests for issuance of letters of
credit, any fee letters, engagement letters, commitment letters, payoff letters, post-closing
agreements and any other affidavits, agreements, certificates, documents, instruments, notices,
recordings or filings deemed necessary or proper by the DIP Agent or required by the DIP Loan
Documents, and affidavits, agreements, certificates, documents, instruments, notices, recordings
or filings relating to any of the foregoing (together with the DIP Loan Documents, collectively,
the “DIP Credit Documents”!:

        WHEREAS, in connection with the execution, delivery and performance by the
Company of the DIP Credit Documents to which it is a party, the Company may be required, or
may deem it necessary or appropriate, to take such other actions, including, without limitation,
the filing of Uniform Commercial Code financing statements or amendments thereto, or other
filings necessary to perfect or give notice of liens, the notating of liens on titles, the delivery of
stock powers and stock or other equity certificates, the delivery of allonges and notes, the
payment of fees, costs and expenses, the giving of notices, the designation of persons authorized
to act, and other actions as may be necessary or appropriate to perform under any DIP Credit
Documents to which it is a party (collectively, the “Related Actions”!:
        WHEREAS, the Director has determined that the Company’s entry into the DIP Credit
Documents to which it is a party, including, if applicable, the Company’s guarantee of
obligations of the Borrower and the other DIP Guarantors in the DIP GCA and taking of the
Related Actions (i) is necessary or convenient to the conduct, promotion or attainment of the
Company’s business and (ii) may reasonably be expected to benefit the Company, directly or
indirectly; and

        WHEREAS, the Director has determined that the execution, delivery and performance of
each DIP Credit Document to which the Company is a party, and taking of the applicable
Related Actions will benefit the Company and is in the best interest of the Company, including
the granting of a lien on and/or security interest in substantially all of its assets to secure the
obligations under the DIP Credit Documents to which it is a party, and to enter into and to
perform its obligations under each DIP Credit Document to which it is a party.




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    1. Chapter 11 Case.

        NOW THEREFORE, BE IT RESOLVED that the Director of the Company, for and
on behalf of the Company, approves and ratifies the decision of management of the Company
promptly to file a voluntary petition for relief under Chapter 11 of the United States Bankruptcy
Code (the “Chapter 11 Case”! in the United States Bankruptcy Court for the Southern District of
Florida (the “Court”! if such action is deemed necessary by management, and to execute and
deliver any and all documents required by, or necessary or appropriate with respect to, the filing
and administration of the Chapter 11 Case (collectively, the “Chapter 11 Documents”!: and it is
further

         RESOLVED, that the Director of the Company hereby authorizes, directs and empowers
the President, Chief Executive Officer, Vice President, Chief Transformation Officer, General
Counsel, Chief Financial Officer, Treasurer and/or Secretary of the Company (collectively, the
“Authorized Officers”!, and each of them, acting alone or in any combination, on behalf of the
Company to prepare, execute and/or verify and to cause to be filed, and the Secretary, any
Assistant Secretary or other applicable officer, be and each hereby is authorized to attest to, any
and all documents required by, necessary or appropriate to, the filing and administration of the
Chapter 11 Case, including but not limited to the petition, as well as all other ancillary
documents (including, but not limited to, petitions, schedules, statements, DIP Loan Documents,
lists, motions, applications, objections, responses, affidavits, declarations, complaints, pleadings,
disclosure statements, plans of reorganization or liquidation and other papers or documents)
necessary or desirable in connection with the foregoing, including but not limited to, any
amendments, modifications or supplements thereto (collectively, the “Chapter 11 Documents”!:
and it is further

        RESOLVED, that any of the Authorized Officers of the Company, who may act without
the joinder of any of the other officer of the Company, is hereby authorized to execute and
deliver the Chapter 11 Documents in the name and on behalf of the Company and otherwise to
take all actions (including, without limitation, (i) negotiation, execution, delivery, and filing of
any agreements, certificates, or other instruments or documents, (ii) the payment of any retainer
or consideration for any professional retained by the Company in the Chapter 11 Case, and (iii)
the payment of expenses and taxes as any such Authorized Officer may deem necessary,
appropriate, or advisable (such acts to be conclusive evidence that such Authorized Officer
deemed the same to be necessary, appropriate, or advisable) in order to commence and
administer the Chapter 11 Case, and all acts of the Authorized Officer taken pursuant to the
authority granted herein, or having occurred prior to the date hereof in order to effect such
transactions, are hereby approved, adopted, ratified, and confirmed in all respects; and it is
further

    2. Retention of Professionals.

        RESOLVED, that the Director hereby approves and ratifies the employment by the
Company of the law firm of Latham & Watkins, LLP f“Latham & Watkins”!, to represent the
Company as its general bankruptcy counsel to represent and assist the Company in carrying out
its duties under the Bankruptcy Code and all related matters, and to take any and all actions to


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advance the Company’s rights, including the preparation of pleadings and filings in the Chapter
11 Case; and in connection therewith, the Authorized Officers be and each of them, acting alone
or in any combination, hereby is, authorized, directed and empowered, on behalf of and in the
name of the Company to execute appropriate retention agreements, pay appropriate retainers
prior to and immediately upon the filing of the Chapter 11 Case, and to cause to be filed an
appropriate application for authority to retain the services of Latham & Watkins; and it is further

       RESOLVED, that the Director hereby approves and ratifies the employment by the
Company of the law firm of Berger Singerman LLP (“BSLLP”), to represent the Company as its
Florida bankruptcy co-counsel to represent and assist the Company in carrying out its duties
under the Bankruptcy Code and all related matters, and to take any and all actions to advance the
Company’s rights, including the preparation of pleadings and filings in the Chapter 11 Case; and
in connection therewith, the Authorized Officers be and each of them, acting alone or in any
combination, hereby is, authorized, directed and empowered, on behalf of and in the name of the
Company to execute appropriate retention agreements, pay appropriate retainers prior to and
immediately upon the filing of the Chapter 11 Case, and to cause to be filed an appropriate
application for authority to retain the services of BSLLP; and it is further

        RESOLVED, that the Director hereby approves and ratifies (i) the employment by the
Company of Huron Consulting Services LLC (“Huron”) to provide the services of a Chief
Transformation Officer to the Company, and other Huron personnel to assist the Chief
Transformation Officer, in conjunction with the Chapter 11 Case and all related matters and (ii)
the appointment of John C. DiDonato as Chief Transformation Officer; and in connection
therewith, the Authorized Officers be and each of them, acting alone or in any combination,
hereby is, authorized, directed and empowered, on behalf of and in the name of the Company to
execute appropriate retention agreements, pay appropriate retainers prior to and immediately
upon the filing of the Chapter 11 Case, and to cause to be filed an appropriate application for
authority to retain the services of Huron; and it is further

        RESOLVED, that the Director hereby approves and ratifies the employment by the
Company of the firm of Rothschild & Co US Inc. (“Rothschild & Co”!, as investment banker to
the Company in conjunction with the Chapter 11 Case and all related matters; and in connection
therewith, the Authorized Officers be and each of them, acting alone or in any combination,
hereby is, authorized, directed and empowered, on behalf of and in the name of the Company to
execute appropriate retention agreements, pay appropriate retainers prior to and immediately
upon the filing of the Chapter 11 Case, and to cause to be filed an appropriate application for
authority to retain the services of Rothschild & Co; and it is further

       RESOLVED, that the Director hereby approves and ratifies the employment by the
Company of Stretto, Inc. (“Strettp”), as claims and noticing agent in connection with the
preparation for and administration of the Chapter 11 Case and all related matters; and in
connection therewith, the Authorized Officers be and each of them, acting alone or in any
combination, hereby is, authorized, directed and empowered, on behalf of and in the name of the
Company to execute appropriate retention agreements, pay appropriate retainers prior to and
immediately upon the filing of the Chapter 11 Case, and to cause to be filed an appropriate
application for authority to retain the services of Stretto; and it is further


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    3. General Authorization.

       RESOLVED, that the Authorized Officers of the Company and counsel for the Company
are hereby authorized and directed to take all such further actions and execute and deliver all
such further instruments and documents in the names and on behalf of the Company under their
corporate seals or otherwise and to incur and pay such expenses as in his or their judgment shall
be necessary, proper or advisable in order to fully carry out the intent and accomplish the
purposes of each of the foregoing resolutions; and it is further

    4. Approval of DIP Credit Facility.

        RESOLVED, that the Director hereby determines that the approval of the transactions
contemplated by the DIP Credit Documents and the execution, delivery and performance by the
Company of the DIP Credit Documents to which it is a party on the terms and conditions as
substantially described or provided to the Director will benefit the Company and is in the best
interest of the Company; and it is further

        RESOLVED, that the Company is hereby authorized, and each Authorized Officer shall
be, and hereby is, authorized and empowered, with full power of delegation, on behalf of and in
the name of the Company, to execute, verify and/or file, or cause to be filed and/or executed or
verified (or direct others to do so on their behalf as provided herein), and to amend, supplement
or otherwise modify from time to time (including, without limitation, any amendments or
supplements to the DIP Credit Agreement that increase the amount of credit available
thereunder) any of the DIP Credit Documents to which it is a party, and to take any and all
actions that the Authorized Officer deems necessary or appropriate, each in connection with the
Chapter 11 Case and/or any post-petition financing or any cash collateral usage contemplated
hereby or thereby; and it is further

        RESOLVED, that each Authorized Officer is hereby authorized, directed and
empowered to do or cause to be done all such acts or things and to execute and deliver, or cause
to be executed and delivered, under seal or otherwise, all such DIP Credit Documents or other
affidavits, agreements, certificates, documents, instruments, notices, recordings and filings
(including, without limitation, any and all certificates and notices required or permitted to be
given or made under the terms, conditions or provisions of any of the agreements, documents or
instruments executed therewith), in the name and on behalf of the Company on behalf of each of
the Company’s direct or indirect subsidiaries, as any such Authorized Officer, in his or her
discretion, may deem necessary, proper or advisable to effectuate or carry out the purposes and
intent of the foregoing resolutions and to perform the obligations of such subsidiary under all
affidavits, agreements, certificates, documents, instruments, recordings and filings executed or
delivered on behalf of such subsidiary in connection with the DIP Credit Documents to which
such subsidiary is a party, and all acts of any Authorized Officer taken pursuant to the authority
granted herein, or having occurred prior to the date hereof in order to effect such transactions, are
hereby approved, adopted, ratified, and confirmed in all respects; and it is further
        RESOLVED, that the Company is hereby authorized to grant a lien on, security interest
in, and/or pledge any and all of its properties and assets to secure its obligations (including any
obligations guaranteed by it under the DIP Security Agreement, any other DIP Credit Document


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to which it is a party) under the DIP Credit Documents to which it is a party and to enter into and
to perform its obligations under each DIP Credit Document to which it is a party and that the
grant of liens, security interests and pledges by the Company as contemplated in the DIP Credit
Documents to which it is party, and the grant of any additional liens, security interests or pledges
pursuant to any additional security agreements or pledge agreements that may be required under
the DIP Credit Documents to which it is party, and the execution of documents, agreements and
instruments in connection therewith, and the filing of financing statements to perfect or
otherwise evidence such liens, security interests or pledges, are in each case hereby authorized,
approved, and adopted, as applicable; and it is further

        RESOLVED, that the Company and any of its designees is hereby authorized to take any
of the Related Actions, and that the DIP Agent or its designee may file any financing
statement(s) or other filing or recording documents or instruments against the Company in
connection with the grant of security under the DIP Security Agreement and the other DIP Credit
Documents to which it is party, and that such financing statement(s) may, without limitation,
include an “all assets” collateral description (including, without limitation, “all assets of debtor”,
“all personal property of the debtor”, “all assets of the debtor, whether now existing or hereafter
acquired or arising or in which debtor otherwise has rights and all proceeds thereof’, or words of
similar effect.


October ^    8    2022                 John Owoc (Oct 9,202222:06 EDI)

                                       Jack H. Owoc, Sole Shareholder and Sole Director




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